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              IN THE UNITED STATES COURT FOR THE DISTRICT OF UTAH
                                     CENTRAL DIVISION




 TAJ BECKER, M.D.,
           Plaintiff,                                  MEMORANDUM DECISION AND
                                                       ORDER DENYING DEFENDANTS
                                                       GARDNER’S AND EVANS’
                                                       MOTION FOR SUMMARY
                                                       JUDGMENT


                   vs.


 J. DENIS KROLL, et al.,                               Case No. 2:02-CV-24 TS
           Defendants.




                                      I. INTRODUCTION

       Defendants David Gardner and Gale Evans (Defendants) assert that their internet

publication of an official report containing allegedly false information is subject to absolute

immunity under Utah Code Ann. § 45-2-3(1)’s privilege for actions in the “proper discharge

of an official duty.” They contend that the Tenth Circuit’s earlier ruling that summary

judgment should not be granted on their claims of immunity under that statute was limited

to only a claim of qualified immunity.1 The Court denies the Motion because the Tenth



       1
           Becker v. Kroll, 494 F.3d 904, 928 (10th Cir. 2007).

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Circuit’s ruling is the law of the case and, even if that ruling did not also encompass a claim

of absolute immunity, Defendants have not shown the internet publication was made

pursuant to an “official duty” within the meaning of § 45-2-3(1) .

                               II. FACTUAL BACKGROUND

       The factual background is fully set forth in the Becker opinion as well as the Court’s

ruling on the other Defendants’ Motion for Summary Judgment.2 For the purposes of the

present Motion, the following factual allegations are relevant.

       In November 1998, Utah’s Medicaid Fraud Control Unit (MFCU) was under pressure

to make greater recoveries. A research analyst for MFCU flagged Plaintiff Becker, a St.

George neurologist, as possibly having up-coded Medicaid costs. Up-coding is the practice

of overcharging the Medicaid program for services. MFCU instituted an investigation of the

alleged up-coding and eventually filed a civil suit against Plaintiff. The civil suit was

subsequently dismissed.

       Plaintiff and her husband began speaking out against MFCU by writing and

contacting state governmental officials and the federal Office of the Inspector General

(OIG), alleging that MFCU employed bullying tactics to extort money from rural doctors

and complaining about a lack of oversight and possible abuses. Their efforts were part of

a larger and on-going political debate in the same time frame that resulted in management

changes at MFCU and a transfer of MFCU from the Department of Public Safety to the

Attorney General’s office. Shortly after Plaintiff’s husband testified before a legislative



       2
           Docket No. 225.

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committee regarding MFCU, the state filed criminal charges against Plaintiff based on the

alleged up-coding. The criminal charges were subsequently dismissed due to irregularities

in the investigation. The billing allegations were then referred to an administrative hearing

wherein Plaintiff was cleared.

       MFCU sends an annual report to the Secretary of the United States Department of

Health and Human Services as required by a federal regulation.3 When the annual report

submitted in 2001 was prepared, Gardner was an assistant Attorney General in MFCU and

Evans was its director. Gardner drafted the portion of the report discussing Plaintiff and

submitted it to Evans. Gardner says he submitted the material to Evans only as a rough

draft, but Evans says he only reviewed it for grammar.

       Despite the resolution of all up-coding billing allegations entirely in Plaintiff’s favor,

MFCU’s annual report for that year “was worded in a way to make it appear as through

Becker was guilty of up-coding despite the dismissal of the criminal case and the later

administrative determination in [her] favor . . . .”4

       Evans made the decision to place the report on MFCU’s internet site after

discussion with Garner and several others. Gardner informed Evans it could be released

on the MFCU’s internet site. At the time the report was published on MFCU’s internet site,

there was no requirement by the OIG or any other entity that MFCU publish the report to

the public or on MFCU’s internet site in particular.5

       3
           Defs’ Ex. B, Evans Dep. at 26-27. Reply at 6.
       4
           Becker, 494 F.3d at 912.
       5
           Def.s’ Ex. B, Evans Dep. at 62-63.

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                           III. PROCEDURAL BACKGROUND

      Becker filed this action under §1983 and state law. There was a previous grant of

summary judgment in favor of all Defendants on all claims. The Tenth Circuit remanded

some claims against some Defendants, including Plaintiff’s state law libel claims against

Gardner and Evans. It extensively examined the dismissal of those libel claims for the

failure to show malice as required by the Utah Governmental Immunity Act6 because it

found Plaintiff had shown the malice required under that act. It further considered

Defendant’s alternative argument for immunity under § 45-2-3(1):

      Gardner and Evans also argue that their involvement in the case summary
      is immune under Utah law. Under Utah's libel law, a report required by state
      or federal law is immune from suits for libel or slander if made “in the proper
      discharge of an official duty” or “by a fair and true report, without malice, of
      a judicial, legislative or other public official proceeding.” Utah Code Ann. §
      45-2-3(1) and (4). Evans and Gardner claim the privilege from suit because
      the MFCU annual report is a publication required by the federal government
      as part of Utah's participation in the Medicaid program. While the statute
      will provide an immunity from suit for “fair and true” reports, it expressly
      provides the same state-of-mind exception as the governmental immunity
      statute-malice.
      In sum, the district court erred in dismissing Becker's state law libel claim
      against Gardner and Evans for failure to present evidence of malice.7

      The last sentence appears to refer to the reason that the claims were originally

dismissed under Utah’s Governmental Immunity Act. Defendants now move for summary

judgment asserting absolute immunity under Utah Code Ann. § 45-2-3(1).


      6
       Then codified at Utah Code Ann. § 63-30-4(3)(b)(i). In 2004, the legislature
replaced the Utah Governmental Immunity Act, Utah Code Ann. §§ 63-30-1 to -38
(1997), with the Governmental Immunity Act of Utah. Utah Code Ann. §§ 63-30d-101 to
-904 (2004). Peck v. State, 191 P.3d 4, n.1 (Utah 2008).
      7
          Becker, 494 F.3d at 928 (emphasis added).

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                                  IV. SUMMARY JUDGMENT

       Summary judgment is appropriate only when “there is no genuine issue as
       to any material fact.” We determine whether the evidence proffered by the
       plaintiff, if believed by the fact-finder, would be sufficient to sustain the claim,
       and draw all reasonable inferences from the evidence in the manner most
       favorable to the plaintiff.8

       Evans and Gardner seek immunity from Plaintiff’s state law libel claims under Utah

Code Ann. § 45-2-3(1). That statute provides: “A privileged publication or broadcast which

shall not be considered as libelous or slanderous per se, is one made: (1) in the proper

discharge of an official duty.” They contend that under Utah law there is a distinction

between the absolute immunity granted under subsection (1) of the statute, covering the

discharge of an official duty, and the qualified immunity granted under subsection (4),

covering fair and true reports of official proceedings. They contend that because the MFCU

annual report is required by the federal government as part of Utah's participation in the

Medicaid program, their act in publishing that report on MFCU’S internet site is part of their

“official duties” and is therefore covered by absolute immunity under § 45-2-3(1). They

contend that despite its language to the contrary, the Becker decision did not rule on their

claim of absolute immunity under subsection (1) because they did not raise the critical

distinction of the type of immunity they were claiming under subsection (1) in their first

motion for summary judgment or in the appeal of their first motion. Accordingly, they

contend that the Becker decision cannot be read to have ruled on their claim of absolute

immunity or, if it did make such a ruling, they claim such ruling must be either dicta or



       8
           Id. at 912-13 (quoting Fed.R.Civ.P. 56(c)) (citations omitted).

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erroneous because Utah law affords an absolute rather than conditional privilege to

subsection (1).9

       Plaintiff contends that this issue was specifically decided in the Becker decision and

that the ruling is now law of the case. Plaintiff also contends that for an act to be an official

duty within the meaning of the statute, it must be statutorily required, relying on the

Montana Supreme Court’s interpretation of the identical language in its statute.10 Plaintiff

also contends that an “official duty” within the meaning of the statute covers only policy-

making functions and that the statute applies only to broadcasters of television, radio and

the print media.

       Addressing Defendants’ first argument, it is baffling why any public official who

believed that he or she enjoyed absolute immunity from suit under a Utah statute would

not have clearly raised that purported absolute immunity at the earliest possible opportunity

in the action. But it does appear from their briefing on their first motion for summary

judgment that Defendants did not therein raise their claim of absolute immunity under § 45-

2-3(1).11 They did, however, raise that immunity claim under § 45-2-3(1) as an alternative


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       Defendants contend that the law of the case doctrine does not apply to an
erroneous ruling. But Defendants provide no authority that would allow a trial court to
declare a decision of its court of appeals to be erroneous and, therefore, not the law of
the case.
       10
            Hale v. City of Billings, Montana, 986 P.2d 413 (1999).
       11
         Nor do Defendants appear to have raised absolute immunity under § 45-2-3(1)
in their Answer to Third Amended Complaint, which assets as affirmative defenses that
they are entitled to “absolute prosecutorial immunity and to qualified immunity.” Docket
No. 122, Amended Answer at 18 (emphasis added). Gardner’s prosecutorial immunity
is not at issue.

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ground for affirming the grant of summary judgment in their appellate brief. As evidenced

by the Becker decision’s discussion of Defendants’ claim of privilege as based on the fact

that “the MFCU annual report is a publication required by the federal government,”12 the

subsection (1) claim of immunity was considered and rejected as a basis for affirming the

grant of summary judgment. Defendants argue that the ruling on subsection (1) is not the

law of the case because the ruling did not address the assertion of absolute, rather than

qualified immunity under the statute.

       The Court agrees that the Becker decision’s statement that immunity from suit for

“fair and true” reports requires the same malice state-of-mind exception as the

governmental immunity statute, does not appear to also apply to Defendants’ claim of

immunity under subsection (1) for “proper discharge of an official duty.” Defendants argue

that it does not. Plaintiff appears to concede that it does not.13 However, the Court finds

that it need not determine that issue because, even if the Becker decision does not cover

an assertion of absolute, instead of qualified, immunity under subsection (1), Defendants

have not shown that they are entitled to summary judgment under subsection (1)

regardless of the type of immunity it affords.

       There is no Utah case law actually applying the “proper discharge of a public duty”

immunity. For example, in Carter v. Jackson,14 the Court made the following general


       12
            Becker, 494 F.3d at 928.
       13
        Pl.’s Mem. at 1 (stating that the Becker decision noted that the malice
requirement exists under § 45-2-1 et. seq. “at least with respect to . . . § 45-2-3(4).”
       14
            351 P.2d 957, 958 (Utah 1960).

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statements about the immunity under subsections (1) and (2) of §45-2-3, but then decided

the case on the subsection (2), not subsection (1), grounds:

       There are two classes of privileged communications, absolute and qualified
       or conditional. In the case of absolutely privileged communications the
       utterance or publication, although both false and malicious, does not give
       rise to a cause of action. . . .

       Subsections (1) and (2) of [§] 45-2-3, . . . define the communications that are
       absolutely privileged. The question is whether the defendant's statement, in
       his capacity as a member of a city council and made at a regular meeting of
       the council, was an absolutely privileged communication. The trial judge
       correctly held that it was and directed a verdict of no cause of action.

       By virtue of 10-6-5, U.C.A.1953 the city council was the legislative and
       governing body of South Salt Lake, and its meeting was certainly an ‘official
       proceeding authorized by law’ as provided for in subsection (2) of [§]45-2-3,
       U.C.A.1953.

       The statement of the defendant was made in his official capacity in an official
       proceeding authorized by law and it had a reasonable relationship to the
       subject of the meeting. The statement, therefore, was absolutely privileged.

       Similarly, in Seegmiller v. KSL, Inc.,15 the Utah Supreme Court generally noted in

a footnote that “subsections (1) and (2) of [sections 45-2-3 and 45-2-10] provide a privilege

which cannot be overcome by proof of malice. The remaining subsections set out

conditional privileges.”16 But the Seegmiller court did not otherwise consider or apply

subsection (1).




       15
            626 P.2d 968 (Utah, 1981).
       16
            Id. at 977 n.8.

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       In the absence of Utah case law construing this privilege, the Court must endeavor

to predict how the Utah Supreme Court would rule.17 In so doing, the Court looks to the

plain language of subsection (1). Duty means “obligatory tasks, conduct, service, or

functions that arise from one's position (as in life or in a group).”18 Official means

“prescribed or recognized as authorized” or “of or relating to an office [or] position”19 Thus,

to be an “official duty,” the duty must be prescribed, such as by statute; or specifically

recognized, as by rule; but also must be in relation to the obligatory tasks or functions that

arise from the office the individual holds. Under this reading, something more is required

to be covered by the “official duty” immunity than the fact that an act may not be officially

prohibited.

       This reading is similar to how the Utah Supreme Court read the term “judicial duty”

in In re Worthen.20 In Worthen, the court looked to the list of duties prescribed in the

Judicial Canons of Conduct as the source for “judicial duties” as used in Utah Const. art.

VIII, § 13 and Utah Code Ann. § 78-7-28(1).21 It is also in accordance with Utah Supreme


       17
         Johnson v. Riddle, 305 F.3d 1107, 1118 (10th Cir. 2002) (holding that “[w]hen
the federal courts are called upon to interpret state law, the federal court must look to
the rulings of the highest state court, and, if no such rulings exist, must endeavor to
predict how that high court would rule.”)
       18
       Merriam-Webster Online Dictionary, s.v. “duty,” http://www.merriam-
webster.com (last visited September 29, 2009).
       19
         Merriam-Webster Online Dictionary, s.v. “official,” http://www.merriam-
webster.com (last visited September 29, 2009) (showing “official duties” as an example
for “of or relating to an office, [or] position”).
       20
            926 P.2d 853, 869 (Utah 1966).
       21
            Id. at 869

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Court’s reading of a grant of immunity for conduct “in the course of official duties” in

Pendleton v. Utah State Bar,22 a case relied upon by Defendants. In Pendleton, the Rules

of Lawyer Discipline and Disability (RLDD) granted immunity to participants in attorney

disciplinary proceedings “for any conduct in the course of their official duties.”23 The

plaintiff argued that the Bar, its counsel, and its staff libeled him by publishing news of his

interim suspension and the circumstances surrounding his suspension.                The Utah

Supreme Court looked to the RLDD’s list of powers and duties of the senior counsel and

staff to determine whether the defendants had been acting within the course of their official

duties when they published the allegedly defaming article. Because the RLDD also defined

the bar prosecutor’s duty including a duty to “disseminate public disciplinary results to the

Bar and the public,” the Utah Supreme Court held that defendants were acting within the

course of their official duties when they published the article. The Utah Supreme Court

also held that even if publishing the details surrounding the suspension was more than

required by the rule, the act of publishing the article was nevertheless within the course of

the defendants' official duty under the rule “to provide the members of the Bar with

disciplinary results and educate them about improper conduct.”24

       This reading of the statute is in accordance with how the identical statutory language

is interpreted in other states. For example in Hale v. City of Billings, Montana,25 the

       22
            16 P.3d 1230, 1232 (Utah 2000).
       23
            RLDD 13.
       24
            Pendleton, 16 P.3d at 1233.
       25
            986 P.2d 413.

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Montana Supreme Court held that the “the discharge of an official duty, one which requires

a statutory mandate from the legislature, confers an ‘absolute’ privilege and thereby an

absolute defense to a libel action.”26 Thus, “an absolute privilege may be invoked by one

who is required by law to publish defamatory matter.”27 However, the Montana court also

held that the statute could also encompass a lesser qualified standard where the duty was

not mandated by the legislature, but was instead only a “requisite of a person’s

employment.”28

       In Wilson v. City of Tulsa,29 the court looked to the police chief’s official job

description to find that the issuing of a press release pursuant to the police’s standard

policy was in the proper discharge of an official duty.

       In the alternative, Defendants argue that if a legislatively mandated duty is required

such a duty is found in various Utah statutes providing that the legislative intent is to

promote the public’s right of easy and reasonable access to unrestricted public records;30

provide a right of individuals to inspect “a public record” free of charge and take a copy;31

and classify records as public unless otherwise expressly provided.32


       26
            Id. at 506.
       27
            Id. at 507 (citing Restatement (Second) of Torts § 592A).
       28
            Id.
       29
            91 P.3d 673, 680-81 (Okla. Civ. App. 2004).
       30
            Now codified at Utah Code Ann. § 63G-2-102(3)(1) (2008).
       31
            Now codified at Utah Code Ann. § 63G-2-201(1) (2008).
       32
            Now codified at Utah Code Ann. § 63G-2-201(2) (2008).

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       The Court finds that a general expression of legislative intent does not, without

more, give rise to an official duty by a specific official. Nor does a request by an individual

to have a copy of a public document give rise to an “official duty” to place that document

on an internet site. The Utah Legislature is specific when it seeks to impose such duties

for public dissemination, as are the Utah Administrative Rules.33

       In this case, unlike Pendleton, there is no evidence that Gardner and Evans were

acting pursuant to an official duty when they placed the allegedly defamatory report on the

MFCU internet site. Because there is no evidence of an “official duty” to place the report

on the MFCU’s internet website,34 the Court need not also determine the meaning of the

term “proper conduct.”35

       In conclusion, Defendants have not shown that the Becker decision is not binding

and, if it does not cover a claim of absolute as well as qualified immunity, they have not

shown that they are entitled to summary judgment on absolute immunity under § 45-2-3(1).




       33
         See e.g. Utah Code Ann. § 13-11-7 (providing enforcing agency shall inform
consumers on a continuing basis of certain information and stating when certain public
disclosure not permitted ) and Utah Admin. Code R152-1-2 (requiring that the Utah
Department of Commerce, Division of Consumer Protection “shall place” names and
identifying information of individuals or businesses on a “Buyer Beware List” under
enumerated circumstances).
       34
         Not only is there no evidence of an “official duty” for either Defendant to
publically disseminate the report prepared for the OIG, there is also an issue of fact on
whether the duties of Gardner, a prosecutor, included preparing MFCU’s annual report.
       35
        See e.g. Denke v. Shoemaker, 198 P.3d 284, 302-03 (Mont. 2008) (holding that
unlawful retaliatory conduct does not qualify as “the proper discharge of an official duty”
for purposes of MCA § 27-1-804(1)).


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                                        V. ORDER

       Based on the foregoing, it is

       ORDERED that Defendants Gardner’s and Evans’ Motion for Summary Judgment

(Docket No. 201) is DENIED. It is further

       ORDERED that pursuant to the Court’s standard policy, this case will be referred

to a settlement conference and will also be set for a four-day jury trial.

       DATED September 29, 2009.

                                           BY THE COURT:


                                           _____________________________________
                                           TED STEWART
                                           United States District Judge




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